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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

   BRENDA STEWART                                    )
                                                     )
   Plaintiff,                                        )
                                                     ) Case No. 4:13-cv-00271-HEA
   v.                                                )
                                                     )
   FIRSTSOURCE ADVANTAGE, LLC                        )
                                                     )
   Defendant.                                        )

                                  STIPULATION FOR DISMISSAL

         IT IS HEREBY STIPULATED AND AGREED that this action should be dismissed with

prejudice, each party to bear its own costs.




                                               RESPECTFULLY SUBMITTED:


                                               /s/ Nathan K. Bader

                                               NATHAN K. BADER #64707MO
                                               RICHARD A. VOYTAS, Jr., #52046MO
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                                       CERTIFICATION

       The below signature certifies that on August 23, 2013 the foregoing was served by

operation of the Court's electronic filing system to the following counsel of record:

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                                                     /s/ Nathan K. Bader__
